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                  EXHIBIT A
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                                 CAUSE NO. 15-DCV-220724

PERFIT VISION, EYEWEAR EXPRESS                  §               IN THE DISTRICT COURT OF
INC. DBA PERFIT VISION & JOHN                   §
LUONG                                           §
                                                §
V.                                              §
                                                §              FORT BEND COUNTY, TEXAS
                                                §
                                                §
MOUNT VERNON FIRE                               §
INSURANCE COMPANY                               §                 400TH JUDICIAL DISTRICT

                       NOTICE TO ADVERSE PARTY OF
                  REMOVAL TO UNITED STATES DISTRICT COURT

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant Mount Vernon Fire Insurance Company, while preserving and without

waiving its defenses, has filed a Notice of Removal of this action under 28 U.S.C. §§ 1332(a)

(Diversity of Citizenship) and 1446 to the United States District Court for the Southern District

of Texas. Attached hereto as Exhibit A is a true and correct copy of said Notice of Removal.

       This Court is requested to proceed no further with this matter unless and until the case is

remanded.

                                            Respectfully submitted,

                                            BINGHAM, MANN & HOUSE

                                            BY: /s/ Lisa G. Mann
                                                LISA G. MANN
                                                    Attorney-In-Charge
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                                          ATTORNEYS FOR DEFENDANT
                                          MOUNT VERNON FIRE INSURANCE
                                          COMPANY


                              CERTIFICATE OF SERVICE

      I hereby certify service of the foregoing in accordance with the Texas Rules of Civil
Procedure on February 12, 2015, as follows:

      By Certified Mail, Return Receipt Requested:
      Carlos Peniche
      LAM, LYN & PHILIP, P.C.
      3555 Timmons Lane, Suite 790
      Houston, Texas 77027
      Attorneys for Plaintiffs

                                                 /s/ Lisa G. Mann
                                                 LISA G. MANN

 




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